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            IN THE UNITED STATES DISTRICT COURT
            FOR THE CENTRAL DISTRICT OF ILLINOIS
                    SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
            Plaintiff,                    )
                                          )
     v.                                   )      No. 22-cr-30081
                                          )
EDDIE D. SIMS,                            )
                                          )
            Defendant.                    )

                         OPINION AND ORDER

SUE E. MYERSCOUGH, U.S. District Judge.

     This matter comes before the Court on Defendant Eddie D.

Sims’s Motion to Dismiss Indictment. Def.’s Mot. Dism., d/e 32.

Mr. Sims argues that, under N.Y. State Rifle & Pistol Ass’n v.

Bruen, 142 S. Ct. 2111 (2022), the statutes underlying his two-

count Indictment violate the Second Amendment on their faces and

as applied to him. Mr. Sims’s motion is DENIED.

                           I. BACKGROUND

     On December 6, 2022, a grand jury indicted Mr. Sims on two

firearms charges. See Indictment, d/e 1. Count I charges that Mr.

Sims transferred a .22-caliber semiautomatic handgun to Darius

Buerkett, a prohibited person, in violation of 18 U.S.C. § 922(d)(1).


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Id. at 1. Count II alleges that Mr. Sims aided and abetted Mr.

Buerkett’s unlawful possession of that firearm, in violation of 18

U.S.C. § 922(g)(1) and 18 U.S.C. § 2. Id. at 2.

     Mr. Sims now moves to dismiss the Indictment.

                        II. LEGAL STANDARD

     A motion brought under Federal Rule of Criminal Procedure

12(b)(3) challenges the legal sufficiency of an indictment. United

States v. Moore, 563 F.3d 583, 585. (7th Cir. 2007). “Challenging

an indictment is not a means of testing the strength or weakness of

the government's case, or the sufficiency of the government's

evidence.” Id. at 586 (citation omitted). The sole operative question

is “whether it’s possible to view the conduct alleged” in an

indictment as a violation of a valid federal criminal law. See id.

     Mr. Sims moves to dismiss his Indictment by raising facial and

as-applied constitutional challenges to §§ 922(d)(1) and 922(g)(1).

An as-applied challenge contends that a law or regulation “is

unconstitutional as applied to a plaintiff's specific activities even

though it may be capable of valid application to others.” Surita v.

Hyde, 665 F.3d 860, 875 (7th Cir. 2011). By contrast, a facial

challenge asserts that the challenged law or regulation “is wholly


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invalid” in all applications and so “cannot be applied to anyone.”

Ezell v. City of Chicago, 651 F.3d 684, 698 (7th Cir. 2011).

                           III. DISCUSSION

     The Second Amendment provides that “[a] well regulated

Militia, being necessary to the security of a free State, the right of

the people to keep and bear Arms, shall not be infringed.” U.S.

Const. amend. II. In Dist. of Columbia v. Heller, the Supreme Court

held that the Second Amendment guarantees “law-abiding,

responsible citizens” the right to possess a handgun in the home for

self-defense. 554 U.S. 570, 634 (2008); see also McDonald v. City

of Chicago, Ill., 561 U.S. 74 (2010) (incorporating against the states

this understanding of the Second Amendment). And in Bruen, the

Court extended that right “outside the home.” 142 S. Ct. at 2122.

     Bruen also announced a new analytical mode for evaluating

the constitutionality of a firearm regulation. Before Bruen, the

courts of appeals had “coalesced around a ‘two-step’ framework.”

Id. at 2125. At the first step, a court considered whether the target

of the regulation fell within the Second Amendment’s “original

scope.” If so, the court subjected the regulation to means-ends

scrutiny; if not, the analysis ended there. E.g., Kanter v. Barr, 919


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F.3d 437, 441 (7th Cir. 2019). The Bruen Court, however, found

that this approach involved “one step too many.” Bruen, 142 S. Ct.

at 2127. Instead, as Justice Thomas wrote for the majority,

          [W]hen the Second Amendment’s plain text
          covers an individual’s conduct, the Constitution
          presumptively protects that conduct.        The
          government must then justify its regulation by
          demonstrating that it is consistent with the
          Nation’s historical tradition of firearm
          regulation. Only then may a court conclude
          that the individual’s conduct falls outside the
          Second Amendment’s “unqualified command.”

Id. at 2129–30.

A. Mr. Sims’s As-Applied Challenges Fail.

     Mr. Sims attacks 18 U.S.C. §§ 922(d)(1) and 922(g)(1) as

unconstitutional on their faces and as applied to him. Ordinarily,

the appropriate response to a dual challenge like Mr. Sims’s is to

consider the as-applied challenge first. Bd. of Trustees of State

Univ. of New York v. Fox, 492 U.S. 469, 485 (1989); see also Berron

v. Ill. Concealed Carry Licensing Rev. Bd., 825 F.3d 843, 846 (7th

Cir. 2016) (“[T]he Supreme Court insists that, with few exceptions,

statutes and regulations be evaluated in operation (‘as applied’)

rather than peremptorily.”). After all, a statute “may be invalid as



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applied to one state of facts and yet valid as applied to another.”

Dahnke-Walker Milling Co. v. Bondurant, 257 U.S. 282, 289 (1921).

     The “state of facts” here, however, is nonexistent. Neither Mr.

Sims nor the Government has provided even a barebones set of

factual stipulations. Instead, the essential elements of Mr. Sims’s

charges—indeed, all the elements—await testing at trial. Given the

constraints imposed by the Federal Rules of Criminal Procedure,

which limit pretrial motions to those that “can be determined

without a trial on the merits,” the Court must decline Mr. Sims’s

invitation to find either of the challenged statutes unconstitutional

as applied to him. See Fed. R. Crim. P. 12(b)(3); see generally

United States v. Pope, 613 F.3d 1255, 1261 (10th Cir. 2010)

(Gorsuch, J.) (declining to resolve as-applied Second Amendment

challenge to Section 922(g)(9) because it necessitated analyzing

whether “the statute is unconstitutional only in light of the ‘facts

surrounding the commission of the alleged offense’—the very facts a

court may not consider before trial”).

B. Mr. Sims’s Facial Challenges Fail at Bruen’s First Prong.

     The Court turns next to Mr. Sims’s facial challenges to 18

U.S.C. §§ 922(d)(1) and 922(g)(1). The first of Bruen’s two prongs


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asks whether “the Second Amendment’s plain text covers” the

challenger’s admitted or alleged conduct. Bruen, 142 S. Ct. at

2127. The Government argues that Mr. Sims’s motion falters here.

See Gov.’s Resp., d/e 39, at 18–24. The Court agrees.

     The plain text of the Second Amendment safeguards “the right

of the people to keep and bear Arms.” See U.S. Const. amend. II.

The Court need not grapple with the thorny question whether “the

people” includes those previously convicted of a felony offense, since

Mr. Sims is not among them. Rather, the Court’s analysis begins

and ends with the question of Mr. Sims’s conduct.

     Mr. Sims is accused of transferring a firearm to Darius

Buerkett, a prohibited person. Mr. Sims also faces a derivative

charge of aiding and abetting Mr. Buerkett’s possession of the

firearm. Neither alleged course of conduct finds shelter in the plain

text of the Second Amendment, for giving away a gun definitionally

excludes “keeping” or “bearing” it. In Heller, the Supreme Court

concluded—after consulting a litany of Framing-era dictionaries—

that “the most natural reading of ‘keep Arms’ in the Second

Amendment is to ‘have weapons.’” Heller, 554 U.S. at 582. As for

“bear[ing] . . . Arms,” the Heller Court divined “a meaning that


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refers to carrying [a firearm] for a particular purpose—

confrontation.” Id. at 584. Applying these definitions here leads

inexorably to one result: a gun cannot be “kept” or “borne” by one

person if it is in some manner surrendered to another. Mr. Sims’s

alleged conduct, therefore, is not entitled to the Second

Amendment’s presumptive protection.

                          IV. CONCLUSION

     For these reasons, Defendant Eddie D. Sims’s Motion to

Dismiss Indictment (d/e 32) is DENIED.


IT IS SO ORDERED.

ENTERED: OCTOBER 13, 2023

FOR THE COURT:


                           s/ Sue E. Myerscough
                           SUE E. MYERSCOUGH
                           UNITED STATES DISTRICT JUDGE




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